Case 2:23-cv-20354-MCA-JBC Document 74 Filed 01/18/24 Page 1 of 3 PagelD: 1943

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

AXSOME MALTA LTD.,, et al.,

Plaintiffs, : Hon. Madeline Cox Arleo
Civil Action No. 23-20354

i
PRETRIAL SCHEDULING ORDER

ALKEM LABORATORIES LTD, et al.,

Defendants.

THIS MATTER having come before the Court for a scheduling conference pursuant to
Rule 16 of the Federal Rules of Civil Procedure on January 18, 2024; and for good cause shown:

IT IS on this 18™ day of January, 2024,
ORDERED THAT:

1. A telephone status conference shall be held before the undersigned on 4/30/2024 at 11:30
A.M. Counsel for Plaintiff is directed to initiate the call to (973) 776-7700. If the
conference is going to be conducted via dial-in, the parties are instructed to call Chambers
once everyone is on the line and provide the dial-in information at that time. Dial-in
numbers will not be accepted prior to the conference. The parties are to submit a joint
status letter no later than 4/25/2024, itemizing the issues counsel would like to discuss in
the upcoming conference.

2. Any discovery dispute shall be brought to the Court’s attention in the first instance by letter
or by telephone conference call immediately after the parties’ good faith attempt to resolve
the dispute has failed. See L. Civ. R. 16.1(f)(1). No discovery motion or motion for
sanctions for failure to provide discovery shall be made without prior leave of Court.

3. Discovery shall proceed as set forth in Exhibit 1 to this Order.

4. FAILURE TO FOLLOW THIS ORDER WILL RESULT IN SANCTIONS
PURSUANT TO Fed. R. Civ. P. 16(f) and Fed. R. Civ. P. 37.

s/ James B. Clark, II
JAMES B. CLARK, III
United States Magistrate Judge

Case 2:23-cv-20354-MCA-JBC Document 74 Filed 01/18/24 Page 2 of 3 PagelD: 1944

EXHIBIT 1
Event Axsome’s Defendants’
Proposed Proposed
Date Date
Parties to Exchange Rule 26(a)(1) Initial Disclosures 1/25/24
Plaintiffs to Provide Disclosure of Asserted Claims 1/25/24
Parties to Submit Joint Discovery Confidentiality Order 2/22/24
Each Defendant Group to Provide Non-Infringement 4/26/24
Contentions
Defendants to Provide Joint Invalidity Contentions 4/26/24
Plaintiffs to Provide Infringement Contentions to each 9/4/24
Defendant Group
Plaintiffs to Respond to Defendants’ Joint Invalidity 9/4/24
Contentions
Parties to Exchange Proposed Claim Terms for Construction 9/18/24
Parties to Exchange Preliminary Claim Constructions 10/9/24
Parties to Exchange Evidence Opposing Claim 10/29/24
Constructions
Joint Claim Construction and Prehearing Statement 11/12/24
Complete all non-expert Markman discovery 12/11/24
Opening Markman briefs 1/6/24
Complete all expert Afarkman discovery 2/27/25
Substantial Completion of Document Production 3/24/25
Responsive Markman briefs 4/11/25
Parties Jointly Propose Markman hearing schedule 4/28/25
Markman hearing TBD
Deadline for Motions to Amend or to Add Parties 5/12/25
Close of Fact Discovery 8/25/25
Parties Exchange Opening Expert Reports on All Issues for 60 days after 1925125”

which Party Bears Burden of Proof

the close of
fact discovery
or the Court’s
Markman
opinion,

ase

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Case 2:23-cv-20354-MCA-JBC Document 74 Filed 01/18/24 Page 3 of 3 PagelD: 1945

whichever is
later
Parties Exchange Responsive Expert Reports 75 days after 1L2H-9/2-5°
opening
expert reports
Reply Expert Reports 45 days after 2/43/26_/
responding
expert reports
Close of Expert Discovery 60 days after MHA6~”
reply expert
reports
Submission of the Parties’ Joint Pretrial Order TBD
Final Pretrial Conference TBD ;
Trial TBD June 20267
30 Month Stay Expires 12/17/26

sc
